Case 1:08-cv-21063-JIC Document 397 Entered on FLSD Docket 02/26/2018 Page 1 of 4



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 07-22459-CIV-COHN/SELTZER
                            CASE NO. 08-21063-CIV-COHN/SELTZER

  ELOY ROJAS MAMANI, et al.,

         Plaintiffs,

  v.

  JOSÉ CARLOS SÁNCHEZ BERZAÍN,

         Defendant in No. 07-22459,

  GONZALO DANIEL SÁNCHEZ DE
  LOZADA SÁNCHEZ BUSTAMANTE,

       Defendant in No. 08-21063.
  __________________________________/

   ORDER GRANTING PLAINTIFFS’ MOTION IN LIMINE TO EXCLUDE REFERENCE
     TO AKIN GUMP’S REPRESENTATION OF THE GOVERNMENT OF BOLIVIA

         THIS CAUSE is before the Court upon Plaintiffs’ Motion to Exclude Reference to

  Akin Gump’s Representation of the Government of Bolivia [DE 357 in Case No. 07-

  22459; DE 335 in Case No. 08-21063] (“Motion”). 1 The Court has considered the

  Motion, Plaintiffs’ Response and Defendants’ Reply, the parties’ related submissions,

  and the record in these cases, and is otherwise advised in the premises. For the

  reasons stated below, Plaintiffs’ Motion is granted.




         1
           All docket citations refer to Case No. 07-22459, which was consolidated with Case No. 08-
  21093 in May 2008. See DE 68.

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Case 1:08-cv-21063-JIC Document 397 Entered on FLSD Docket 02/26/2018 Page 2 of 4



                                           BACKGROUND 2

         In 1995, during the first presidential term of Defendant Lozada, the Government

  of Bolivia retained Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”) as legal

  counsel in connection with an ongoing plan to capitalize the nation’s energy resources.

  DE 357 at 2-3; DE 380 at 1-2 (the “Legal Representation”). The Legal Representation

  lasted roughly three years. In 2002, during the second presidential term of Defendant

  Lozada, the Government again consulted Akin Gump, this time in connection with a

  proposed (but ultimately unconsummated) agreement for Akin Gump to provide

  lobbying services in Washington, D.C. (the “Lobbying Proposal,” and, together with the

  Legal Representation, the “Representations”). DE 357 at 2; DE 380 at 5-6. Akin Gump

  now serves as pro bono counsel to Plaintiffs. DE 357 at 1.

         During the discovery process in these cases, Defendants served a subpoena

  upon Akin Gump, seeking documents pertaining to the Representations. Id. They also

  pursued the topic in several witness depositions. Id. at 2-4. Plaintiffs now move

  pursuant to Federal Rules of Evidence 402 and 403 to exclude any evidence regarding

  the Representations. They argue that such evidence is irrelevant, because the

  Representations have no bearing one way or the other on the issues actually in dispute

  in these cases: namely, whether the deaths of Plaintiffs’ eight specific decedents in

  October 2003 meet the TVPA’s definition of “extrajudicial killing,” and, if so, whether

  Defendants can be held vicariously liable for them. Id. at 4-6. Plaintiffs also maintain

  that such testimony would prove unduly prejudicial and confusing and is being proffered

  largely to distract the jury’s attention from the disputed issues. DE 389 at 1-4.

         2
          The Court’s Order Denying Defendants’ Joint Motion for Summary Judgment contains a
  comprehensive discussion of the facts of these cases, which will not be repeated here. See DE 408 at 2-
  24.

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Case 1:08-cv-21063-JIC Document 397 Entered on FLSD Docket 02/26/2018 Page 3 of 4



         Defendants respond that evidence regarding the Representations is “relevant to

  rebutting Plaintiffs’ . . . argument that Defendants sought to use unlawful means to

  implement the gas exportation plan.” DE 380 at 7-8. In other words, Plaintiffs’ theory of

  the case—as Defendants characterize it—holds that the 2003 gas export plan (which

  precipitated the protests that resulted in Plaintiffs’ decedents’ deaths) was an improper,

  perhaps illegal, enterprise undertaken by the administration of Defendant Lozada.

  Evidence that the Bolivian government obtained legal advice from a reputable

  international law firm would, accordingly, tend to rebut Plaintiffs’ theory.

                                         DISCUSSION

         Rule 401 defines relevant evidence as evidence “ha[ving] any tendency to make

  a [consequential] fact more or less probable than it would be without the evidence.”

  Rule 402 provides that relevant evidence is generally admissible, while irrelevant

  evidence is inadmissible. Rule 403 provides that relevant evidence can be excluded “if

  its probative value is substantially outweighed by a danger of one or more of the

  following: unfair prejudice, confusing the issues, misleading the jury, undue delay,

  wasting time, or needlessly presenting cumulative evidence.”

         The Court finds that evidence regarding the Representations is irrelevant, unduly

  prejudicial, confusing, and misleading. The Representations have no bearing one way

  or the other on the question of responsibility for the deaths of Plaintiffs’ decedents.

  While the Court agrees with Defendants that evidence from Plaintiffs regarding the

  merits of the gas plan, whether the gas plan was lawful, and tending to cast aspersions

  upon Defendants’ motives in pursuing the gas export plan would warrant rebuttal,

  Plaintiffs represent that Defendants mischaracterize their position and that they do not



                                                3
Case 1:08-cv-21063-JIC Document 397 Entered on FLSD Docket 02/26/2018 Page 4 of 4



  intend to adduce such evidence. DE 389 at 2-3. Instead, Plaintiffs maintain that

  Defendants’ wrongdoing was in formulating and implementing a plan to forcefully quell

  the civil unrest that they anticipated would arise in response to the gas export plan, not

  in pursuing the gas export plan itself. Id.

          The Court takes Plaintiffs at their word that they will hew to this position at trial.

  However, to avoid any confusion, the Court cautions Plaintiffs that it considers evidence

  regarding the merits of the gas export plan, the lawfulness of the gas export plan,

  Defendant’s motives in pursuing the gas export plan, or similar questions, to be

  irrelevant and hence objectionable. 3 Accordingly, there is nothing for Defendants to

  rebut via evidence of the Representations.

                                              CONCLUSION

          In light of the foregoing, it is thereupon ORDERED AND ADJUDGED that

  Plaintiffs’ Motion [DE 357 in Case No. 07-22459; DE 335 in Case No. 08-21063] is

  GRANTED. Defendants are precluded from introducing any evidence regarding Akin

  Gump Strauss Hauer & Feld’s prior legal representation of, and proposed lobbying

  arrangement on behalf of, the Government of Bolivia.

          DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

  Florida, this 26th day of February, 2018.




  Copies provided to counsel of record via CM/ECF

          3
            Plaintiffs may of course introduce evidence regarding the existence of the gas export plan, that
  the gas export plan was a priority for the Lozada administration, that the gas export plan was unpopular
  with the Bolivian public, and the degree to which Defendants may have anticipated protests in response
  to the gas export plan.

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